Additional Certificate of Registration
of a Claim to Copyright

‘This is to certify that the statements set forth

in the attached have been made a part of the

records of the Copyright Office with claim In testimony whereof, the seal of this office
of copyright registered under number is affixed hereto or.

VA 120-368 August 18, 2017

 

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| Acting United States Register of Copyrights and Director

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Richard E. Zawitz
eupptioas 505 Fifth Street
San Francisco, CA 94107
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Copyright Office
of theLDnited States

 

WASHINGTON, D.C.

   
     
  

THIS IS TO CERTIFY that a claim to copyright a work identified
as COILED TANGLE (17 SECTIONS) was registered under number
VA 120-368. This work was registered in accordance with provisions of the
United States Copyright Law (Title 17 United States Code).

THIS IS TO CERTIFY ALSO, that the attached is an additional
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IN WITNESS WHEREOF, the seal of this Office is affixed hereto
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Karyn Temple Claggett
Acting United States Register of Copyrights and Director

VA

By: Veronica Patten
Supervisory Copyright Specialist
Records Research and Certification Section
Office of Public Records and Repositories

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O71 This is the first published edition of a work previously registered in unpublished form
(J This is the first application submitted by this author as copyright claimant.
() This is a changed version of the work, as shown by line Guf the application

® If your answer is “Yes.” give Previous Registration Number SEG line 6. Year of Registration. L981

 

 

 

 

COMPILATION OF, DERIVATIVE WORK: (See instructions)

[ PREEXISTING MATERIAL (Identify any preexisting work or works that this work is based on or incorporates }

‘Registration Numbers VAU 35-387, VAU 35-388
VAU' 35-389, VAU 35-390
VAU 35-391, VAU 35-392

MATERIAL ADDED TO THIS WORK: (Give a brief,
right Is claimed.)

‘this work is a 17. section coiled version
of the kinetic sculpture of the above Registrations,

general statement of the material that has been added to this work and in which copy-

 

 

 

 

 

DEPOSIT ACCOUNT: (If the registration fee is to be charged to a

Deposit Account established in the Copyright Office, give name and
number of Account.)

CORRESPONDENCE: (Give name and address to which corre-
spondence about this application should be sent.)

Name

 

 

 

 
  

 

 

 

 

 

 

Paul Hentzel Psimnianinek
Name _ 441 Nevada Avenue ence
Palo Alto, Ca. 9530] = «om
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of theLlnited States

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THIS IS TO CERTIFY that on April 9, 2003 a claim to copyright a
work identified as ZAWITZ TANGLE ORNAMENTAL (FLAT-SIDED)
KINETIC SCULPTURE was registered under number VA 1-232-933.
This work was registered in accordance with provisions of the United States
Copyright Law (Title 17 United States Code).

THIS IS TO CERIFY ALSO, that the attached is an additional
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IN WITNESS WHEREOF, the seal of this Office is affixed hereto
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Karyn Temple Claggett
Acting United States Register of Copyrights and Director

By: Veronica Patten
Supervisory Copyright Specialist

Records Research and Certification Section
Office of Public Records and Repositories

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Additional Certificate (47 U.S.C, 706)
“Certificate of Registration

 

FORM VA

This Certificate issued under the seal of the Copyright For a Work of the Visual Arts
UNITED STATES COPYRIGHT OFFICE

Office in accordance with title 17, United States Code,
attests that registration has been made for the work + VA 1-—232—933

identified below. The information on this certificate has
been made a part of the Copyright Office records. MCRAE
Xe a “Apr! 4 G 2003

Acting United States Register of Copyrights and Director

 

 

 

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Zawitz Tangle Ornamental (Flat-sided) sculpture sculpture
Previous or Alternative Titles V

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a, C) This is the first published ed:tion of « work previously regsstered in unpublished form. VAu 35-390 VA 120-368
b. C) This is the first application submited by this author as copynght clarmant. VAu 35-389
¢. (§ This ws 2 changed version of the work, as shown by space 6 on this application. VAu 35-392
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DERIVATIVE WORK OR COMPILATION Complete both epece 6a and 6b for a derivative work, complete only 6b for a compilation.
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Name V Account Number V
Townsend and Townsend and Crew LLP DAO 13986

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CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/ApvCity/State/ZIP V
Lesley S Craig b
Townsend and Townsend and Crew LLP
1200 17th Street, Suite 2700;
Denver, CO 80202
Area code end daytime telephone umber (3()3) 571-4000 Faxnumder = (303) 571-4321

Email

 

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Karyn Temple Claggett
Acting United States Register of Copyrights and Director

Lhenvca Geecer.

By: Veronica Patten
Supervisory Copyright Specialist
Records Research and Certification Section
Office of Public Records and Repositories

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seq.

  

 

 
Certificate of Registration

 

 

Additional Certificate (17 U.S.C. 706)

Form VA @

. i 5 : For a Work of the Visual Arts
This Certificate issued under the seal of the Copyright UNITED STATRS COPYRIGHT OFFICE
Office in accordance with title 17, United States Code, RE

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attests that registration has been made for the work

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been made a part of the Copyright Office records. eeaaas 771065
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lin UL 202
Acting United States Register of Copyrights and Director
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Title of This Work V NATURE OF THIS WORK ¥ See instructions
Tangle Therapy Kinetic Sculpture sculpture
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Publication as a Contribution If this work was published as a contribution to a periodical serial or collection give information about the collective work in which the
vontribuuon appeared Title of Collective Work ¥

 

 

 

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Name V Account Number V

Townsend and Townsend and Crew LLP DAO 13986

 

CORRESPONDENCE Give name and address to which correspondence about this application should be sont. Narme/Address/ApuCity/Stac/ZIP V

Lesley S Craig b
Townsend and Townsend and Crew LLP

1200 17th Street, Suite 2700

Denver, CO 80202

Area code and daytime tsephione number ( 303 571-4000 raxmmber (303, 571-4321

lscraig@townsend com

CERTIFICATION® I, the undersigned hereby certify that I am the
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Ol owner of exclusive nght(s)
Bauthonzed agent of — Richard E Zawitz
Name of author or other copyright claimant, or owner of exclusive right(s) A.
of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge

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Karen Temple Claggett
Acting United States Register of Copyrights and Director

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By: Veronica Patten
Supervisory Copyright Specialist
Records Research and Certifications Section
Office of Public Records and Repositories

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in the matter of the copyright
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Richard E. Zawitz
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By: Veronica Patten
Supervisory Copyright Specialist
Records Research and Certifications Section
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